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    1   VICTOR A. VILAPLANA (CA BAR NO. 58535)
        vavilaplana@foley.com
    2   MARSHALL J. HOGAN (CA BAR NO. 286147)
        mhogan@foley.com
    3   FOLEY & LARDNER LLP
        ATTORNEYS AT LAW
    4   3579 VALLEY CENTRE DRIVE, SUITE 300
        SAN DIEGO, CA 92130
    5   TELEPHONE: 858.847.6700
        FACSIMILE: 858.792.6773
    6

    7   ATTORNEYS FOR DEBTORS AND
        DEBTORS-IN-POSSESSION
    8

    9                        UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF CALIFORNIA
  10

  11    IN RE:                                           LEAD CASE NO. 16-05968-LT11
  12    SOTERA WIRELESS, INC.,                           CHAPTER 11
  13                           DEBTOR.                   (JOINTLY ADMINISTERED)
  14                                                     SUPPLEMENT TO DEBTORS’ THIRD
        SOTERA WIRELESS, INC.,                           AMENDED CHAPTER 11 PLAN OF
  15                                                     REORGANIZATION
                         CASE NO. 16-05968-LT11
  16
        SOTERA RESEARCH, INC.,
  17
                         CASE NO. 16-05969-LT11
  18

  19

  20               The above-captioned debtors and debtors-in-possession (the “Debtors,”
  21    collectively, “Sotera”) hereby file this Plan Supplement, as defined in the Debtors’
  22    Third Amended Chapter 11 Plan of Reorganization (the “Plan”).
  23               Attached hereto as Exhibit 1 is the Class 5 Promissory Note1 pursuant to
  24    section 1.19 of the Plan.
  25               Attached hereto as Exhibit 2 is the Amended Certificate of Incorporation
  26    and Bylaws for the Reorganized Debtor pursuant to section 6.3 of the Plan.
  27               1
                  Capitalized terms not otherwise defined herein shall have the meanings ascribed to them
  28    in the Plan.


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    1              Pursuant to section 6.10(b) of the Plan, the identities of the members of the
    2   initial Board of Directors for the Reorganized Debtor are as follows:
    3              1.     Thomas Watlington
    4              2.     Leonard Wu
    5              3.     Jason Kao
    6              4.     Francis Chen
    7              5.     Eric Horng
    8              6.     Charles Xie
    9              7.     Robert McNeil
  10               Pursuant to the US Trustee Guidelines, Guideline 5 ¶ Q, the identities,
  11    qualifications, and compensation of the Reorganized Debtor’s management
  12    personnel are as follows:
  13               1.     Thomas Watlington (Chief Executive Officer)
  14                     Mr. Watlington, whose experience in the medical device industry
                   spans 28 years, joined Sotera Wireless as Chief Executive Officer in
  15
                   February 2006. During that year he served a dual role as President of
  16               Naviscan Pet Systems, a medical imaging company, before
                   transitioning to a full-time position with Sotera Wireless in January
  17
                   2007. For ten years prior to joining Sotera Wireless, Mr. Watlington
  18               served as Senior Vice President of Commercial Operations and later as
                   Executive Vice President and Chief Operating Officer of Biosite
  19
                   Incorporated, a leader in the field of medical diagnostics. In addition,
  20               he spent fourteen years at Boehringer Mannheim Corporation in
  21
                   various sales, marketing and strategic roles, including Vice President
                   of Marketing for the Diabetes Care division.
  22
                         Mr. Watlington previously served on the board of Home
  23               Diagnostics, Inc., a public company in the field of diabetes monitoring
  24               that was acquired in June 2010 by Nipro Diagnostics. He received a
                   bachelor of science degree from the University of Maryland.
  25               Mr. Watlington’s salary will be $275,000.
  26
                   2.     Carolyn Maduza (Interim Chief Financial Officer)
  27
                        Ms. Maduza has more than 20 years of successful experience in
  28
                   publicly traded and privately held companies with revenues ranging
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    1              from start up to $100 million and multi-national in scope.
    2              Ms. Maduza’s industry expertise includes medical diagnostics, biotech,
                   healthcare IT and enterprise software. Her early career includes
    3              systems design, accounting and auditing (CPA), Wall Street corporate
    4              banking and investment banking. She has also served as Audit
                   Committee Chair and Financial expert for various Boards of Directors
    5              in similar sectors. Most recently, Ms. Maduza consulted as strategist
    6              and interim Chief Financial Officer for Biomatrica, NanoCellect
                   Biomedical, GenMark Diagnostics, and Helixis. Prior to consulting,
    7              Ms. Maduza served as Chief Operating Officer for Sidney Kimmel
    8              Cancer Center, Executive Vice President and Chief Financial Officer
                   for Alteer Corporation and Senior Vice President and Chief Financial
    9              Officer for Stratagene.
  10
                        Ms. Maduza holds a Master of International Management from
  11               the American Graduate School of International Management, a B.A.,
  12
                   Business Administration, from the University of Wisconsin,
                   Milwaukee and a Certified Public Accountant, State of Illinois.
  13               Ms. Maduza’s salary will be $275,000.
  14
                   3.     Rosemary Kennedy, PhD, RN, MBA, FAAN (Chief Nursing Officer)
  15
                        Prior to joining Sotera Wireless, Inc., Dr. Kennedy was President
  16               and CEO of eCare Informatics, and also Faculty at Thomas Jefferson
  17               University School of Nursing. Most recently Dr. Kennedy was Vice
                   President of Health Information Technology at the National Quality
  18               Forum in Washington, DC. She has more than 30 years of expertise in
  19               the development and implementation of electronic health records with
                   a focus on terminology, integration of evidence-based guidelines
  20               within the EHR, quality measurement, and clinical decision support.
  21               Ms. Kennedy’s salary will be $275,000.
  22

  23    DATE: MAY 19, 2017                                 FOLEY & LARDNER LLP
  24
                                                           BY: /S/ MARSHALL J. HOGAN
  25
                                                                 MARSHALL J. HOGAN
  26                                                       ATTORNEYS FOR DEBTORS AND
                                                           DEBTORS-IN-POSSESSION
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